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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC,                            Case No. 17-12560 (BLS)
et al., 1
                                                               (Jointly Administered)
                                    Remaining Debtors.


MICHAEL GOLDBERG, in his capacity as
Liquidating Trustee of the WOODBRIDGE                          Adversary Proceeding
LIQUIDATION TRUST,                                             No. 19-51027 (JKS)

                                    Plaintiff,
                                                               JURY TRIAL DEMANDED
                         vs.

KENNETH HALBERT,

                                    Defendant.


                      MOTION AND ORDER FOR ADMISSION PRO HAC VICE

         Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the admission pro

hac vice of Robyn B. Sokol of Leech Tishman Fuscaldo & Lampl, Inc. to represent the Defendant, Kenneth

Halbert (“Halbert”) in the above-referenced adversary proceeding.


                                                           Respectfully submitted,

                                                           LEECH TISHMAN FUSCALDO &
                                                           LAMPL, LLC
Dated: July 28, 2021
       Wilmington, Delaware                          By: /s/ Gregory W. Hauswirth
                                                          Gregory W. Hauswirth (DE Bar No.5679)
                                                          1007 North Orange Street, 4th Floor
                                                          Wilmington, DE 19801
                                                          Telephone: 302.332.7181
                                                          Facsimile: 412.227.5551
                                                          ghauswirth@leechtishman.com

                                                           Attorneys for Defendant, Kenneth Halbert

1
 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 14140 Ventura Boulevard, #302, Sherman Oaks, California 91423.
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